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UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF PENNSYLVAN|A

lN THE l\/lATTER OF APPL|CAT|ON FOR : F§L§®
ADMlSSlON TO PRACT|CE lN TH|S COURT : HAF\°HlSBUHG pA

APF? @ 2915/l
PET|T|ON
l Kar€n HOffmann ,, hereby petition the United States District

Court for the l\/liddle District of Pennsylvania to admit me to practice before that Court. ln
support of my petition, l state as follows:

|\/|y Office address is; A|dea - The People’s Justice Center

 

532 Walnut Street

 

Reading, PA 19601

 

Office Telephone: 412'916-4509

 

l Was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and l am currently a member in good standing of all those Courts.

 

Supreme Court of Pennsylvania
05/18/2017

District of Colorado 09/06/2018

 

 

l\/|y attorney identification number is: PA323622

 

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GENERAL ADMlSSlON

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SPEC|AL AD|\/||SS|ON

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